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The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 8, 2021
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
     IN RE:                                 §
                                            §
     HIGHLAND CAPITAL MANAGEMENT §                          CASE NO. 19-34054-SGJ-11
     L.P.,                                  §               (CHAPTER 11)
           DEBTOR.                          §
     ______________________________________ §
     HIGHLAND CAPITAL MANAGEMENT §
     L.P.,                                  §               ADVERSARY NO. 21-03004
           PLAINTIFF,                       §               (CIV. ACTION #3:21-CV-00881-X)
                                            §
     VS.                                    §
                                            §
     HIGHLAND CAPITAL MANAGEMENT §
     FUND ADVISORS, L.P.,                   §
           DEFENDANT.                       §

      REPORT AND RECOMMENDATION TO DISTRICT COURT PROPOSING THAT IT:
      (A) GRANT '()(1'$17¶6 MOTION TO WITHDRAW THE REFERENCE AT SUCH
        TIME AS BANKRUPTCY COURT CERTIFIES THAT ACTION IS TRIAL READY;
             AND (B) DEFER PRETRIAL MATTERS TO BANKRUPTCY COURT




                                                    1
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        I.      INTRODUCTION

        The above-referenced adversary proceeding WKH ³$GYHUVDU\ 3URFHHGLQJ´ is related to the

  EDQNUXSWF\ FDVH RI +LJKODQG &DSLWDO 0DQDJHPHQW /3 WKH ³Bankruptcy Case´ 1 Highland

  Capital Management, L.P. WKH³'HEWRU´ RU³+LJKODQG´) filed a voluntary Chapter 11 petition on

  October 16, 2019 in the United States Bankruptcy Court of Delaware. That court subsequently

  entered an order transferring venue to the Northern District of Texas, Dallas Division, on

  December 4, 2019. A Chapter 11 plan was confirmed by the bankruptcy court on February 22,

  2021. The chapter 11 plan has been appealed by the Defendant in this action, Highland Capital

  Management Fund Advisors (³HCMFA-Defendant´), and certain parties related to it. The appeal

  of the plan is now pending before the Fifth Circuit, but no stay pending appeal has been granted.

        On January 22, 2021, shortly before its Chapter 11 plan was confirmed, the Debtor, as Plaintiff,

  brought this Adversary Proceeding against HCMFA-Defendant. The Adversary Proceeding

  pertains to two promissory notes (collectively, WKH³1RWHV´ executed by HCMFA-Defendant in

  favor of the Debtor in 2019. Each of the Notes were demand notes. On December 3, 2020, the

  Debtor sent HCMFA-Defendant a letter demanding payment by December 11, 2020, as allowed

  under the terms of the notes. Following HCMFA-Defendant¶V failure to pay on the Notes in

  response to the demand letter, the Debtor brought this action to collect on the Notes. 7KH'HEWRU¶V

  Chapter 11 plan contemplates collection on these Notes (as well as several other notes of parties

  related to HCMFA-Defendant) as part of its funding to pay creditors.




  1
      Bankruptcy Case No. 19-34054.

                                                     2
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      Under the United States District Court for the Northern District of Texas¶VWDQGLQJRUGHURI

  reference2, proceedings arising in, or related to, a case under Title 11 are automatically referred to

  the bankruptcy court. HCMFA-Defendant submitted a Motion for Withdrawal the Reference3 (the

  ³0RWLRQ´ and Brief in Support of Motion to Withdraw the Reference4 (the ³Brief in Support´)

  seeking to have the reference withdrawn, such that this Adversary Proceeding would be

  adjudicated in the District Court. The bankruptcy court conducted a status conference concerning

  the Motion, pursuant to Local Bankruptcy Rule 5011-1, on May 25, 2021.

      The bankruptcy court submits the following report and recommendation to the District Court,

  ultimately recommending that the Motion be granted, but only at such time as the bankruptcy

  court certifies to the District Court that the lawsuit is trial ready. The bankruptcy court further

  recommends that the District Court defer to the bankruptcy court the handling of all pretrial

  matters.

      II.      NATURE OF THE ADVERSARY PROCEEDING

               a. The Complaint and Procedural History

            The Debtor commenced this Adversary Proceeding by filing its Complaint for (I) Breach

  RI &RQWUDFW DQG ,,  7XUQRYHU RI 3URSHUW\ RI WKH 'HEWRU¶V (VWDWH5 on January 22, 2021. The

  'HEWRU¶V&RPSODLQWDVVHUWV two causes of action: (1) a breach of contract claim ³&RXQW´ and

  (2) a turnover action under 11 U.S.C. § 542(b) for the amounts owed on the Notes ³&RXQW´ .

  The principal amounts and execution dates for each of the two Notes were: (i) $2,400,000,

  executed May 2, 2019, and (ii) $5,000,000, executed May 3, 2019. The Debtor now seeks monetary

  damages totaling $7,687,653.07, plus accrued but unpaid interest and cost of collection. Because


  2
    Misc. Order No. 33.
  3
    Adversary Case No. 21-03004, Dkt. 20.
  4
    Adversary Case No. 21-03004, Dkt. 21.
  5
    Adversary Case No. 21-03004, Dkt. 1.

                                                    3
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  the Debtor alleges the amounts due on the Notes are property of its estate, it argues that turnover

  pursuant to 11 U.S.C. § 542(b) is appropriate.

          After being served with summons on January 25, 2021, HCMFA-Defendant filed its

  Original Answer6 on March 1, 2021 before subsequently filing its Amended Answer7 on July 6,

  2021.

          HCMFA-Defendant filed two proofs of claim in the Bankruptcy Case, Proof of Claim Nos.

  95 and 119. Proof of Claim No. 95 was based on alleged overpayments made by HCMFA-

  Defendant to the Debtor under a shared services agreement. Proof of Claim No. 119 was based

  on alleged overpayments made by HCMFA-Defendant to the Debtor under a payroll

  reimbursement agreement. On October 9, 2020, the bankruptcy court entered a First Supplemental

  Order Sustaining First Omnibus Claims Objection8, which disallowed both of HCMFA-

  Defendant¶s proofs of claim. The HCMFA-Defendant filed an application for an administrative

  expense claim on January 24, 2021, relating to services it alleges the Debtor did not perform under

  a shared services agreement. The Debtor has since filed an objection to the application and the

  matter is set for trial on September 28, 2021. The administrative expense claim does not directly

  relate to the causes of action for collection under the Notes. Similarly, the disallowed proofs of

  claim did not relate to the Notes.

              b. The Motion to Withdraw the Reference, Response Opposed, and Reply

          On April 15, 2021, HCMFA-Defendant filed the Motion. As a result, the above-captioned

  civil action was created in the District Court. On May 4, 2021, the Debtor filed its Response

  2SSRVHGWR'HIHQGDQW¶V0RWLRQWR:LWKGUDZWKH5HIHUHQFH9 WKH³5HVSRQVH Opposed´  On May


  6
    Adversary Case No. 21-03004, Dkt. 6.
  7
    Adversary Case No. 21-03004, Dkt. 48.
  8
    Bankruptcy Case No. 19-34054, Dkt. 1155.
  9
    Adversary Case No. 21-03004, Dkt. 28.

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  18, 2021, HCMFA-Defendant filed its Reply in Support of the Motion to Withdraw the Reference10

   WKH³5HSO\´  The bankruptcy court held a status conference, as required by Local Bankruptcy

  Rule 5011-1, on May 25, 2021WRDVVLVWLQWKHEDQNUXSWF\FRXUW¶VSUHSDUDWLRQRIWKLV5HSRUWDQG

  Recommendation.

                         i. The Movant¶s Position

           HCMFA-Defendant argues there is cause shown for permissive withdrawal of the reference

  because: (1) the contract claim is a purely state law, non-core claim; (2) the turnover claim, under

  the Bankruptcy Code, is wholly derivative of the contract claim, as the amount to be turned over

  is based on the resolution of the contract claim; and (3) efficiency, uniformity and forum shopping

  factors all favor withdrawal.11

           Further, HCMFA-Defendant contends it has made a demand for a jury trial and has not

  consented, expressly or impliedly, to the equitable jurisdiction of the bankruptcy court to enter

  final orders in the Adversary Proceeding or hold a jury trial. HCMFA-Defendant further argues it

  has never filed a proof of claim related to the Notes, thus negating any argument it has consented

  to the bankruptcy court having jurisdiction over the litigation of the Notes.

           Finally, HCMFA-Defendant alleges that permissive withdrawal as proper, because the

  turnover claim is being used as an to attempt to relabel a non-core breach of contract claim to place

  jurisdiction within the bankruptcy court.12

           As far as timing, HCMFA-Defendant requests that the District Court immediately

  withdraw the reference and hear all pre-trial matters until the parties are trial-ready.




  10
     Adversary Case No. 21-03004, Dkt. 30.
  11
     Adversary Case No. 21-03004, Dkt. 21 at 5-11.
  12
     Id. at 8-9; see Granfinanciera, Granfinanciera. S.A. v. Nordberg, 492 U.S. 33, 61 (1989).

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                        ii. The Debtor-Plaintiff¶V3RVLWLRQ

           The Debtor argues that there is no cause shown for permissive withdrawal because a

  turnover action under Section 542(b) of the Bankruptcy Code is an inherently core claim. The

  Notes, as argued, are already property of the bankruptcy estate, as matured and payable on

  December 11, 2020, and the turnover action only concerns federal bankruptcy law.13 The Debtor

  argues that the defenses and disputes raised by HCMFA-Defendant GRQRWUHVWULFWWKH'HEWRU¶V

  ability to collect property of the estate under 11 U.S.C. § 542(b).14

           The Debtor does not directly, in its Response, address whether jury trial rights exist for

  HCMFA-Defendant. Rather, the Debtor focuses on the core nature of the turnover action and the

  forum shopping attempts by HCMFA-Defendant.

           As far as timing, the Debtor argues that, if the court finds permissive withdrawal of the

  reference is appropriate, the reference should not be withdrawn until after the parties are trial-

  ready, and all pretrial matters should be handled by the bankruptcy court until such time.

       III.    THE BREACH OF CONTRACT CLAIMS AT THE CENTER OF THE
               ADVERSARY PROCEEDING ARE NONCORE CLAIMS, AND THE PENDING
               ADMINISTRATIVE EXPENSE CLAIM OF HCMFA-DEFENDANT IS
               UNRELATED TO THEM

       Permissive withdrawal of the reference is described in 86& G DVIROORZV³7KH

  district court may withdraw, in whole or in part, any case or proceeding referred under this section,

  on its own motion or on timely motion of any party, for cause shown.´ The Bankruptcy Code does

  QRWGHILQH³FDXVHVKRZQ´EXW the United States Court of Appeal for the Fifth Circuit, interpreting


  13
     See Tow v. Park Lake Cmtys., LP, 2018 U.S. Dist. LEXIS 1720, at *3-*5 (S.D. Tex. Jan. 4, 2018); see also Porretto
  v. Nelson (In re Porretto), 2012 Bankr. LEXIS 4919, at *11-*12 (Bankr. S.D. Tex. Oct. 18, 2012); see also Romo v.
  Monetmayor (In re Montemayor), 547 B.R. 684, 692 (Bankr. S.D. Tex. 2016) (bankruptcy court had authority under
  Stern to issXH D ILQDORUGHULQDQDFWLRQEURXJKWSXUVXDQWWR6HFWLRQ E EHFDXVH DQDFWLRQ³WRWXUQRYHUDVVHWV
  EHORQJLQJWRWKHEDQNUXSWF\HVWDWH>LV@DPDWWHUZKLFKVROHO\FRQFHUQVIHGHUDOEDQNUXSWF\ODZ´ 
  14
     See Tow, 2018 U.S. Dist. LEXIS 1720, at *3-*5; see also Shaia v. Taylor (In re Connelly), 476 B.R. 223, 230
  (Bankr. E.D. Va. 2012).

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  the Supreme Court case of Northern Pipeline Const. Co. v. Marathon Pipe Line Co., has identified

  a number of factors for courts to consider in determining whether permissive withdrawal of the

  reference is appropriate: (1) whether the matter is core or noncore; (2) whether the matter involves

  a jury demand; (3) whether withdrawal would further uniformity in bankruptcy administration; (4)

  whether withdrawal would reduce forum-shopping and confusion; (5) whether withdrawal would

  foster HFRQRPLFDO XVH RI GHEWRUV¶ DQG FUHGLWRUV¶ UHVRXUFHV DQG   ZKHWKHU ZLWKGUDZDO ZRXOG

  expedite the bankruptcy process.15 Courts in this District have placed an emphasis on the first two

  factors.16

       As explained by the Supreme Court in Stern v. Marshall, Congress has divided bankruptcy

  proceedings (i.e., adversary proceedings or contested matter within a bankruptcy case)²over

  which there is bankruptcy subject matter jurisdiction²into three different categories: (a) those that

  ³DULV>H@XQGHU´Title 11; (b) WKRVHWKDW³DULV>H@LQ´D7LWOHFDVHDQG(c) WKRVHWKDWDUH³UHODWHG

  WR´DFDVHXQGHU7LWOH17 Further, those that arise under Title 11 or arise in a Title 11 case are

  GHILQHGDV³FRUH´PDWWHUV18 DQGWKRVHWKDWDUHPHUHO\³UHODWHGWR´D7LWOHFDVHDUHGHILQHGDV

  ³QRQFRUH´PDWWHUV7KHVLJQLILFDQFHRIWKH³FRUH´´QRQFRUH´GLVWLQFWLRQLVWKDWEDQkruptcy courts

  may statutorily enter final MXGJPHQWV LQ ³FRUH´ SURFHHGLQJV LQ D EDQNUXSWF\ FDVH ZKLOH LQ

  ³QRQFRUH´SURFHHGLQJVWKHEDQNUXSWF\FRXUWVLQVWHDGPD\RQO\ DEVHQWFRQVHQWIURPDOORIWKH

  parties) submit proposed findings of fact and conclusions of law to the district court, for that court's

  review and issuance of final judgment. This is the statutory framework collectively set forth in 28

  86&DQG86&%XWZKLOHDSURFHHGLQJPD\EH³FRUH´LQQDWXUH, under 28



  15
     Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 998-99 (5th Cir. 1985); Mirant Corp. v. The Southern
  Co., 337 B.R. 107, 115-23 (N.D. Tex. 2006); 458 U.S. 50 (1982).
  16
     See Mirant, 337 B.R. at 115-122.
  17
     28 U.S.C. § 1334(b); Stern v. Marshall, 564 U.S. 462, 473-474 (2011).
  18
     Stern, 564 U.S. at 473-474. Core proceedings include, but are not limited to, 16 different types of matters, including
  ³FRXQWHUFODLPVE\>DGHEWRU V@HVWDWHDJDLQVWSHUVRQVILOLQJFODLPVDJDLQVWWKHHVWDWH´86& E  & 

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  U.S.C. § 157(b)(2), and the bankruptcy court, therefore, has the statutory power to enter a final

  judgment on the claim under 28 U.S.C. § 157(b)(1), Stern instructs that any district court, in

  evaluating whether a bankruptcy court has the ability to issue final orders and judgments, must

  resolve not only: (a) whether the bankruptcy court has the statutory authority under 28 U.S.C. §

  157(b) to issue a final judgment on a particular claim; but also (b) whether the conferring of that

  authority on an Article I bankruptcy court is constitutional DQGWKLVWXUQVRQZKHWKHU³WKHDFWLRQ

  at issue stems from the bankruptcy itself or would necessarily be resolved in the claims allowance

  SURFHVV´ 19

         With respect to the claims asserted against HCMFA-Defendant, it might be argued that both

  counts asserted against it are statutorily core in nature.20 While Count 1 is a breach of contract

  claim for collection of amounts due under promissory notes²one of the simplest forms of a state

  law lawsuit²it might be argued that Count 1 is statutorily core under the catchall provision of 28

  U.S.C. § 157(b)(2)(O), as the resolution of the claim would be ³DIIHFWLQJWKHOLTXLGDWLRQRIWKH

  assets of the estate.´However, this position would not pass constitutional muster. The cause of

  action does not stem from the bankruptcy itself (i.e., it stems from alleged defaults on pre-petition

  notes) and would not be resolved through the claims allowance process (since no pending proof

  of claim exists and the administrative expense claim is not directly related to the Notes). In other

  words, the resolution of Count 1 is not so inextricably intertwined with the resolution of HCMFA-

  Defendant¶Vstill-remaining administrative expense claim so as to confer constitutional authority

  on the bankruptcy court to enter a final judgment on the breach of contract claims.

         Count 2, the turnover cause of action, is brought pursuant to 11 U.S.C. § 542(b) and is listed

  as statutorily core under 28 U.S.C. § 157(b)(2)(E). If Count 2 were freestanding and the debts due


  19
       Stern, 564 U.S. at 499.
  20
       28 U.S.C. § 157(b)(2)(E), (O).

                                                     8
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  under the Notes were undisputed, it is unrefuted by HCMFA-Defendant that a turnover action

  under 11 U.S.C. § 542(b) would be both a statutory and constitutional core claim. The issue is

  whether a turnover action to collect on a disputed pre-petition promissory note can be viewed as

  a core claim. There is a split in authority on this issue. The Debtor cites authority that a turnover

  action is a core claim when collecting matured debts, as property of the estate, regardless of

  whether the indebtedness is disputed.21 In contrast, HCMFA-Defendant cites authority that the

  scope of turnover claims under the Bankruptcy Code should not be expanded to encompass debts

  in dispute that arose outside of bankruptcy, including authority from this court.22

       This court views the turnover claim as derivative of the breach of contract claims. The breach

  of contract claims are clearly non-core, and the bankruptcy court lacks constitutional authority to

  confer jurisdiction over them (absent consent²which does not exist here). A turnover action under

  11 U.S.C. § 542(b) cannot be tacked onto a complaint so as to confer authority in the bankruptcy

  court to adjudicate an otherwise non-core claim. To hold otherwise would run counter to the

  dictates of the Supreme Court in Marathon.

           In summary, this court believes that the turnover claim in the Complaint, to collect on a

  disputed indebtedness under the Notes, ³GR>HV@ QRW IDOOZLWKLQWKHVFRSHRIWXUQRYHUDFWLRQVDV



  21
     Shaia, 476 B.R. at  ³7RSURSHUO\FRQVWLWXWHDFRUHSURFHHGLQJXQGHU E  ( WKHGHEWPXVWEHµmatured,
  payable on demandRUSD\DEOHRQRUGHU¶µ0DWXUHG¶UHIHUVWRµGHEWVWKDWDUHSUHVHQWO\SD\DEOHDVRSSRVHGWRWKRVH
  that are contingent and become payable only XSRQWKHRFFXUUHQFHRIDFHUWDLQDFWRUHYHQW¶«:KLOHWKH'HIHQGDQWV
  assert they are not indebted to the Trustee, it is simply not relevant that the Defendants dispute liability on the
  instrument. The presence of a dispute does not preclude a debt from EHLQJPDWXUHG«$FDXVHRIDFWLRQLVDWXUQRYHU
  proceeding under § 542(b) of the Bankruptcy Code where it seeks collection rather than creation or liquidation of a
  PDWXUHG GHEW´  see also In re Willington Convalescent Home, Inc.  )G DW  Q ³7he mere fact that
  &RQQHFWLFXWGHQLHVWKDWLWRZHVWKHPDWXUHGGHEWIRU:LOOLQJWRQ¶VVHUYLFHVEHFDXVHRIDUHFRXSPHQWULJKWµGRHVQRW
  WDNHWKHWUXVWHH¶VDFWLRQRXWVLGHWKHVFRSHRIVHFWLRQ E ¶´ 
  22
     In re Se. Materials, Inc., 467 B.R. 337, 354 (Bankr. M.'1&   7KH GLVWLQFWLRQ LV ZKHQ ³DQ DGYHUVDU\
  SURFHHGLQJSUHVHQWVDERQDILGHGLVSXWHDVWROLDELOLW\WKHPDWWHUFDQQRWEHYLHZHGDVDWXUQRYHUSURFHHGLQJ´ In re
  Satelco, Inc.%5 %DQNU1'7H[  ³>7@KLV&RXUWKROGVWKDWDFWLRQVWRFROOHFWDFFRXQWVUHFHLYDEOH
  based upon state law contract principles do not fall within the scope of turnover actions as contemplated by § 542 and
  § 157(b)(2)(E), absent a final judgment from a court of competent jurisdiction, a stipulation, or some other binding
  GHWHUPLQDWLRQRIOLDELOLW\´ 

                                                             9
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  contemplated by § 542 and § 157(b)(2)(E),´DEVHQWDMXGJPHQWRUVWLSXODWLon resolving the dispute

  as to the indebtedness.23 Thus, the turnover claim, as brought, is not a core claim that the

  bankruptcy court can finally adjudicate, absent the consent of all parties.

       IV.     JURY TRIAL RIGHTS AND DEMAND

       Pursuant to 28 U.S.C. § 157(e), if a litigant has the right to a jury trial under applicable non-

  bankruptcy law, a bankruptcy court may conduct the jury trial only if: (a) the matters to be finally

  adjudicated fall within the scope of bankruptcy subject matter jurisdiction; (b) the district court of

  which the bankruptcy court is a unit authorizes the bankruptcy court to do so; and (c) all of the

  parties consent.24

       Starting first with whether a right to a jury trial even exists, the Seventh Amendment, of course,

  provides a jury trial right in cases in which the value in controversy exceeds twenty dollars and

  the cause of action is to enforce statutory rights that are at least analogous to rights that were tried

  at law in the late 18th century English courts.25 6XLWV³DWODZ´UHIHUVWR³VXLWVLQZKLFKOHJDO rights

  ZHUHWREHDVFHUWDLQHGDQGGHWHUPLQHG´DVRSSRVHGWR³WKRVHZKHUHHTXLWDEOHULJKWVDORQHZHUH

  recognized aQGHTXLWDEOHUHPHGLHVZHUHDGPLQLVWHUHG´26 This analysis requires two steps: (1) a

  FRPSDULVRQRIWKH³VWDWXWRU\DFWLRQWRWKFHQWXU\DFWLRQVEURXJKWLQWKHFRXUWVRI(QJODQGSULRU

  WRWKHPHUJHURIWKHFRXUWVRIODZDQGHTXLW\´DQG  ZKHWKHUWKHUHPHG\VRXJKWLV³OHJDORU

  equitable in nature . . . >W@KHVHFRQGVWDJHRIWKLVDQDO\VLV´EHLQJ³PRUHLPSRUWDQWWKDQWKHILUVW´27




  23
     Satelco, 58 B.R. at 789.
  24
     ³,IWKHULJKWWRDMXU\WULDODSSOLHVLQDSURFHHGLQJWKDWPD\EHKHDUGXQGHUWKLVVHFWLRQE\DEDQNUXSWF\judge, the
  bankruptcy judge may conduct the jury trial if specially designated to exercise such jurisdiction by the district court
  DQGZLWKWKHH[SUHVVFRQVHQWRIDOOWKHSDUWLHV´86& 157(e) (West 2019).
  25
     See City of Monterey v. Del Monte Dunes, 526 U.S. 687, 708 (1999).
  26
     Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 41 (1989).
  27
     See Levine v. M & A Custom Home Builder & Developer, LLC, 400 B.R. 200, 205 (S.D. Tex. 2008) (quoting
  Granfinanciera, 492 U.S. at 42).

                                                            10
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       It is well established that the act of filing a proof of claim can operate to deprive a creditor of

  a jury trial right, by subjecting a claim, that would otherwise sound only in law, to the equitable

  claims allowance process.28 Thus, if both of HCMFA-Defendant¶s proofs of claims were pending,

  it would have FRQVHQWHGWRWKHEDQNUXSWF\FRXUW¶VHTXLWDEOHMXULVGLFWLRQand waived its right to a

  jury trial as to the subject matter of the pending proofs of claim.29 However, as earlier noted, prior

  to the commencement of this Adversary Proceeding on January 22, 2021, HCMFA-Defendant had

  both of its proofs of claim disallowed on October 9, 2020.                          The pending trial over the

  administrative expense claim sought by HCMFA-Defendant is separate from the collection under

  the Notes. Without a pending claim related to the Notes, the breach of contract claims is precisely

  the kind of action that would sound in law rather than in equity. By not having a filed proof of

  claim related to the Notes, HCMFA-Defendant never subjected the Notes to the claims allowance

  process of the bankruptcy court and preserved its right to a jury trial on the Notes.30

       To reiterate, HCMFA-Defendant¶V remaining administrative expense claim is not directly

  related to the collection on the Notes, and it has not otherwise consented to the jurisdiction of the

  bankruptcy court for claims related to the Notes. HCMFA-Defendant has also not consented to the

  bankruptcy court conducting a jury trial pursuant to 11 U.S.C. § 157(e).

       In summary, HCMFA-Defendant¶VODFNRIZDLYHURf its jury trial rights, expressly or impliedly,

  is further reason why the bankruptcy court does not believe it can finally adjudicate the claims in

  the Adversary Proceeding.



  28
     See Langenkamp v. Culp, 498 U.S. 42, 44-45 (1990).
  29
     Id.
  30
     Smith v. Dowden)G WK&LU  ³>7@KHVXFFHVVIXOZLWKGUDZDORIDFODLPSXUVXDQWWR)HG5
  %DQNU3SULRUWRWKHWUXVWHH¶VLQLWLDWLRQRIDQDGYHUVDULDOSURFHHGLQJrenders the withdrawn claim a legal nullity
  DQGOHDYHVSDUWLHVDVLIWKHFODLPKDGQHYHUEHHQEURXJKW´  ,QUH*ROGEODWW¶V%DUJDLQ6WRUHV,QF., No. 05 C 03840,
  2005 WL 8179250, at *5 (N.D. Ill. Dec. 6, 2005) (claims withdrawn before adversary proceeding are as if never filed);
  see generally, In re Manchester, Inc., No. 08-30703-11-BJH, 2008 WL 5273289, at *3-6 (Bankr. N.D. Tex. Dec. 19,
  2008) (permissible to withdraw a claim to preserve jury trial right).

                                                            11
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       V.      PENDING MATTERS

       No dispositive motions, or any other motions, remain pending at this time. The court has not

  granted a stay pending resolution of the Motion in the Adversary Proceeding.31 At this point, the

  parties are not trial-ready.

       VI.     RECOMMENDATION
       In light of: (a) the noncore, related-to claims in the Complaint; (b) the lack of a proof of claim

  or any other claim related to the Notes asserted by HCMFA-Defendant; and (c) the lack of any

  other consent by HCMFA-Defendant to the equitable jurisdiction of the bankruptcy court related

  to the Notes, the bankruptcy court recommends the District Court: refer all pre-trial matters to the

  bankruptcy court, and grant the Motion upon certification by the bankruptcy court that the parties

  are trial-ready.

       With regard to such pretrial matters, the bankruptcy court further recommends that, to the

  extent a dispositive motion is brought that the bankruptcy court determines should be granted and

  would finally dispose of claims in this Adversary Proceeding, the bankruptcy court should submit

  a report and recommendation to the District Court for the District Court to adopt or reject.

                        ***END OF REPORT AND RECOMMENDATION***




  31
    The court did grant a stay pending resolution of the motion to withdraw the reference in the related case of
  Highland Capital Management, L.P. v. Dondero (Adversary Case No. 21-03003).

                                                           12
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                                                               United States Bankruptcy Court
                                                                 Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                         Adv. Proc. No. 21-03004-sgj
Highland Capital Management Fund Advisor,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                   User: mmathews                                                              Page 1 of 2
Date Rcvd: Jul 08, 2021                                                Form ID: pdf012                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 10, 2021:
Recip ID                 Recipient Name and Address
dft                    + Highland Capital Management Fund Advisors, L.P., K&LGates LLP, c/o Stephen G. Topetzes, 1600 K Street, NW, Washington, DC
                         20006-2806
clmagt                 + Kurtzman Carson Consultants LLC, Attn: Drake Foster, 222 N. Pacific Coast Highway, Ste. 300, El Segundo, CA 90245-5614

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 10, 2021                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 8, 2021 at the address(es) listed below:
Name                               Email Address
Davor Rukavina
                                   on behalf of Defendant Highland Capital Management Fund Advisors L.P. drukavina@munsch.com

Julian Preston Vasek
                                   on behalf of Defendant Highland Capital Management Fund Advisors L.P. jvasek@munsch.com

Juliana Hoffman
                                   on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                   txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Melissa S. Hayward
                                   on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Paige Holden Montgomery
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District/off: 0539-3                                      User: mmathews                                                     Page 2 of 2
Date Rcvd: Jul 08, 2021                                   Form ID: pdf012                                                   Total Noticed: 2
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                          ce@sidley.com

Zachery Z. Annable
                          on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 6
